                       EXHIBIT E




Case 3:23-cv-00243   Document 119-4   Filed 02/09/24   Page 1 of 4 PageID #: 1630
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Via Email
January 15, 2024

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          RE:   Hunt v. Southern Baptist Convention et al., 3:23-cv-243 (M.D. Tenn.)

Dear Counsel:

       We write in response to your January 8, 2024 letter. Your letter raises nine pages of
alleged discovery deficiencies in Plaintiff’s discovery efforts. We briefly address your concerns
below.

        We are available for a meet and confer to discuss any remaining issues you may have
after reviewing our responses.

                                            Interrogatories

      •    Interrogatory No. 1: Plaintiff maintains his objection and response to Interrogatory
           No. 1. Guidepost asked for information relating to each person Plaintiff “intend[s] to
           call as a fact witness at the trial.” At this time, any disclosure of trial witnesses would
           be premature and calls for information protected by the work-product doctrine. See,
           e.g., Kraus Indus. v. Moore, 2008 U.S. Dist. LEXIS 10065 (W.D. Pa. Feb. 11, 2008)
           (denying motion to compel response to interrogatory seeking identity of trial witnesses
           and summary of testimony). Trial is not scheduled until November 2024 and discovery
           is still ongoing. Plaintiff will disclose his witness list after the close of discovery and in
           accordance with any case schedule entered by the Court.




Case 3:23-cv-00243          Document 119-4         Filed 02/09/24       Page 2 of 4 PageID #: 1631
January 15, 2024
Page 2

      •     Interrogatory No. 15: Plaintiff will supplement Interrogatory No. 15.

      •     Initial Disclosures: Initial disclosures require the disclosing party to identify “each
            individual likely to have discoverable information—along with the subjects of that
            information—that the disclosing party may use to support its claims or defenses, unless
            the use would be solely for impeachment.” Fed. R. Civ. P. 26 (emphasis added).
            Plaintiff has sufficiently identified such currently-known individuals in his Initial
            Disclosures. Obviously, Plaintiff will supplement his Initial Disclosures, if necessary,
            consistent with the Federal Rules.

                                        Document Productions

     As an initial matter, Plaintiff disclosed in his responses and objections to Guidepost’s
Requests for Production that any agreement to produce documents was qualified as follows:

          In response to the requests, Plaintiff has conducted a reasonable search for
          documents called for by the requests deemed unobjectionable in whole or in part in
          Plaintiff’s possession, custody, or control in reasonably accessible locations where
          such documents are most likely to be found. In addition, a statement that documents
          will be produced in response to a particular request does not mean that Plaintiff
          knows that such documents exist or are in his possession. It means only that if such
          documents exist, are in Plaintiff’s possession, are subject to discovery in this action,
          and can be located in a reasonable search of the most likely and reasonably
          accessible repositories of responsive documents, they will be produced.

     See Objection No. 13. Therefore, any response that Plaintiff would produce discoverable,
non-privileged documents in his possession, custody, or control was not a commitment that such
documents existed or were in his possession. Plaintiff has undertaken a reasonable search for
responsive documents.

      Plaintiff reiterates that as a general practice, prior to the filing of this action, Plaintiff did not
retain emails and text messages. To the extent he has responsive documents, we believe they have
been collected and produced. You can ask Plaintiff questions about his communications related to
the encounter and document retention practices at his deposition.

      •     Damages: Plaintiff served his Amended Statement of Damages under Fed. R. Civ. P.
            26(a)(1)(A)(iii) on January 9, 2024.

      •     Privilege Log: In Plaintiff’s December 14, 2023 letter to the Executive Committee,
            Plaintiff wrote that “[n]o log is required for privileged documents created after the
            filing of the Complaint. See Administrative Order 174-1, 8b. Similarly, Plaintiff has not
            attempted to log communications between our firm and the Hunts that pre-date the
            filing of the Complaint. Such documents are clearly privileged. No other documents are
            being withheld. A redaction log will be produced shortly.” On December 21, 2023
            Plaintiff served a redaction log and confirmed that “[Plaintiff] will not be providing a
            privilege log because no log is required for privileged documents created after the



Case 3:23-cv-00243           Document 119-4         Filed 02/09/24        Page 3 of 4 PageID #: 1632
January 15, 2024
Page 3

          filing of the Complaint.” Moreover, Plaintiff supplemented the redaction log on
          January 9, 2024.

      •   Initial Disclosure: Plaintiff has not withheld documents identified in his Initial
          Disclosures. The identified categories of documents currently-known to Plaintiff that
          may be used to support his claims have been produced by Plaintiff, third parties, and
          Defendants.

      •   Email Addresses: The dates Plaintiff had access to each email account are identified in
          his response to Interrogatory No. 2. Plaintiff no longer has access to the
          johnny.hunt@fbcw.net and jhunt@namb.net accounts.

      •   Text Messages. As general practice, prior to the filing of this action, Plaintiff did not
          retain emails and text messages. We understand that Plaintiff does not have the same
          phone that he used in 2010 when the encounter occurred. Moreover, while Plaintiff had
          communications with those identified in his response to Interrogatory No. 11, we
          understand that none of these were substantive conversations—by text or otherwise.
          There is no objective basis for a forensic examination of Plaintiff’s phone.

               Plaintiff’s Responses to Guidepost’s Second Discovery Demands

      Guidepost’s explanations for Request Nos. 4 and 9 do not resolve Plaintiff’s concerns and
Plaintiff maintains his objections.

       Domicile is determined at the time a Complaint is filed. Smith v. Sperling, 354 U.S. 91, 93
n.1, (1975) (“[J]urisdiction is tested by the facts as they existed when the action is brought.”).
Thus, Plaintiff’s travel from 2020 to 2023 is irrelevant, and so are his credit card statements for
those years.

      Plaintiff does not understand how either request relates to damages claims—especially the
request for documents relating to travel “for any reason whatsoever.” Moreover, detailed
accounting records have been already been produced by Plaintiff, Johnny Hunt Ministries, Inc.,
and 3 H Publishers, Inc.


               Best regards.

                                                             Very truly yours,



                                                             Robert D. MacGill




Case 3:23-cv-00243        Document 119-4         Filed 02/09/24     Page 4 of 4 PageID #: 1633
